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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

BERNHARDT TIEDE, II;                               §
TEXAS PRISONS COMMUNITY                            §
ADVOCATES; BUILD UP, INC. A/K/A                    §
JUSTICE IMPACTED WOMEN’S                           §
ALLIANCE; TEXAS CITIZENS UNITED                    §
FOR REHABILITATION OF ERRANTS;                     §
and COALITION FOR TEXANS                           §
WITH DISABILITIES,                                 §
      Plaintiffs,                                  §         Civil Action No.:
                                                   §         1:23-CV-01004-RP
v.                                                 §
                                                   §
                                                   §
BRYAN COLLIER, in his official capacity            §
as Executive Director of Texas Department          §
of Criminal Justice,                               §
       Defendant.                                  §

                 DEFENDANT COLLIER’S SUPPLEMENTAL BRIEFING
                      REGARDING RULE 30(b)(6) TESTIMONY

       Defendant Bryan Collier, in his official capacity as Executive Director of the Texas

Department of Criminal Justice (“TDCJ”), files this briefing for the benefit of the Court to assess the

testimony allowed by Director Collier in light of the 30(b)(6) testimony.

                                           ARGUMENT

       There is no authority in the Fifth Circuit or any circuit that testimony that was not given in

the 30(b)(6) deposition cannot be testified to live, to either supplement or correct the testimony of

the 30(b)(6) depondent. As one leading treatise explaines, citing to over a dozen cases:

               “Of course, the testimony of the [30(b)(6)] representative
               designated to speak for the corporation are admissible against it.
               But as with any other party statement, [a 30(b)(6) witness’s
               statements] are not ‘binding’ in the sense that the corporate party
               is forbidden to call the same or another witness to offer different
               testimony at trial.”



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8A Fed. Prac. & Proc. Civ. (Wright & Miller) § 2103 (3d ed.) (emphasis added).

Although there is no Fifth Circuit case on point, several other circuits have addressed this very issue:

    •   Snapp v. United Transportation Union, 889 F.3d 1088 (9th Cir. 2018) (“Deposition testimony of
        an organization can be corrected, explained, and supplemented. The organization is not
        irrevocably bound to what the fairly prepared and candid designated deponent happens to
        remember during the testimony.”);

    •   Keepers, Inc. v. City of Milford, 807 F.3d 24 (2d Cir. 2015) (holding that, because "Rule 30(b)(6)
        testimony is not 'binding' in the sense that it precludes the deponent from correcting,
        explaining, or supplementing its statements," the district court acted within its discretion in
        permitting the city's chief of police to supplement the oral deposition given on its behalf by a
        different representative”);

    •   R & B Appliance Parts, Inc. v. Amana Co., L.P., 258 F.3d 783, 786 (8th Cir. 2001) (“Although
        Amana is certainly bound by [its 30(b)(6) witness’s] testimony, it is no more bound than any
        witness is by his or her prior deposition testimony. A witness is free to testify differently from
        the way he or she testified in deposition, albeit at the risk of having his or her credibility
        impeached by the introduction of a deposition.”);

    •   AstenJohnson, Inc. v. Columbia Cas. Co., 562 F.3d 213 (3d Cir. 2009) (holding that the deposition
        testimony of defendant's designated witness was not binding on the company and that the
        company was therefore entitled to produce contrary evidence at trial);

    •   Vehicle Market Research, Inc. v. Mitchell International, Inc., 839 F.3d 1251, 1261 (10th Cir. 2016)
        ("We agree with our sister circuits that the testimony of a Rule 30(b)(6) witness is merely an
        evidentiary admission, rather than a judicial admission.");

    •   Lindquist v. City of Pasadena, Tex., 656 F. Supp. 2d 662 (S.D. Tex. 2009 (holding that testimony
        given in deposition by designated corporate representative is evidence which, like other
        deposition testimony, can be contradicted and use for impeachment purposes and that, in this
        sense, it is not ‘binding’ on the corporation like a judicial admission.)

    •   Reed v. LKQ Corporation, 436 F. Supp. 3d 892 (N.D. Tex. 2020) (“As a general matter, the
        deposition testimony of a corporate representative does not constitute a judicial admission.”);

    •   Litterer v. United States, 545 F. Supp. 3d 625 (N.D. Ill. 2021) (“Testimony given at the deposition
        of a corporate designee is merely an evidentiary admission, and it does not have conclusive
        effect. So whatever the witness says can be used against the company, but it does not preclude
        the deponent or the company from correcting, explaining, or supplementing its statements.”)

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    •   United States ex rel. Landis v. Tailwind Sports Corp., 292 F. Supp. 3d 211 (D.D.C. 2017) (holding
        that government was not precluded form introducing evidence that contradicted the
        deposition testimony of its designated witness and noting that “the broad principle that
        testimony of a Rule 30(b)(6) representative binds the designating entity has been expressly
        repudiated by every court of appeals to consider the issue.”);

    •   Johnson v. Big Lots Stores, Inc., No. CIV.A. 04-3201, 2008 WL 6928161, at *3 (E.D. La. May 2,
        2008) (“Although the testimony of a corporate representative under Rule 30(b)(6) is binding
        on the corporation, such testimony does not constitute a ‘judicial admission’ that decides an
        issue with finality or estops a party from contradicting the testimony of an earlier corporate
        representative.”)


Of course, not allowing any testimony other than what was given in the 30(b)(6) deposition, which

was controlled by the Plaintiffs’ counsel and limited to the topics therein, would be very favorable for

Plaintiffs. However, this type of ruling would be unduly prejudicial to the defense as it would inhibit

TDCJ from fully presenting their defense. The rules of evidence and trial law simply do not constrain

parties or witnesses to only their deposition testimony in any case, and certainly not in a preliminary

injunction hearing where the rules of evidence are more relaxed. As such, Plaintiffs’ objections to

testimony outside their incomplete snip-its from their chosen topics should be overruled.

                                           CONCLUSION

        Defendant respectfully prays this Court overrule Plaintiffs’ objections attempting to constrain

and limit TDCJ’s testimony as unduly prejudicial.


                                                    Respectfully submitted.

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                             NOTICE OF ELECTRONIC FILING

        I, ABIGAIL K. CARTER, Assistant Attorney General of Texas, do hereby certify that I have

electronically submitted for filing a true copy of the above Objections to Plaintiffs’ Exhibit List in

accordance with the Electronic Case Files System of the Western District of Texas, Austin Division,

on August 1, 2024.

                                                   /s/ Abigail K. Carter
                                                   ABIGAIL K. CARTER
                                                   Assistant Attorney General


                                  CERTIFICATE OF SERVICE

        I, ABIGAIL K. CARTER, Assistant Attorney General of Texas, certify that a true copy of

the above Objections to Plaintiffs’ Exhibit List has been served by via email to all counsel of record

through this Court’s electronic filing system.

                                                   /s/ Abigail K. Carter
                                                   ABIGAIL K. CARTER
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